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                                                                     Page 1
                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEVADA

                                     -   -   -

        IN RE:                    :          Civil Action
                                  :          DOCKET NO.
        CUNG LE, NATHAN QUARRY,   :          2:15-cv-01045-RFB-
        JON FITCH, BRANDON VERA, :           (PAL)
        LUIS JAVIER VAZQUEZ and   :
        KYLE KINGSBURG, on behalf :          CLASS ACTION
        of themselves and all     :
        others similarly          :
        situated,                 :
                                  :
                    Plaintiffs,   :
                                  :
                    v.            :
                                  :
        ZUFFA, LLC, d/b/a         :
        ULTIMATE FIGHTING         :
        CHAMPIONSHIP and UFC,     :
                                  :
                    Defendants.   :

                                   - - -
                         Thursday, February 8, 2018
                                  - - -

                       Videotaped deposition of
                ALAN MANNING, taken pursuant to notice,
                was held at the law offices of Berger &
                Montague, P.C., 1622 Locust Street,
                Philadelphia, Pennsylvania 19103,
                beginning at 9:16 AM, on the above date,
                before Constance S. Kent, a Certified
                Court Reporter, Registered Professional
                Reporter, Certified LiveNote Reporter,
                and Notary Public in and for the
                Commonwealth of Pennsylvania.
                                 * * *
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                                                                    Page 23
   1    particular worker or group of workers.

   2                     In your report, do you give

   3    an opinion that, in this case, it is

   4    possible to ascribe a measurable part of

   5    a firm's revenue to the activities of a

   6    particular worker or group of workers?

   7             A.      I expressed the view that

   8    the fighters who were involved in a

   9    particular revenue play a role in

  10    generating the revenue for that event.

  11             Q.      Yes, but do you, in your

  12    report, reach the conclusion that it's

  13    actually possible to ascribe a measurable

  14    part of a firm's revenue to the

  15    activities of a particular worker or

  16    group of workers?

  17                     MR. CRAMER:     Asked and

  18             answered.

  19                     You may answer.

  20                     THE WITNESS:     I mean, I feel

  21             that I -- you know, I answered

  22             that in my previous --

  23    BY MR. ISAACSON:

  24             Q.      Well, what you told me in
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                                                                    Page 24
   1    your previous answer was, I expressed the

   2    view that fighters who are involved in a

   3    particular revenue play a role in

   4    generating revenue for that event, and

   5    that doesn't tell me whether you are --

   6    you state in your report that you can

   7    ascribe a measurable part of a firm's

   8    revenue to the activities of a particular

   9    worker or group of workers.

  10                     What I want to know is, in

  11    your report are you doing that, actually

  12    reaching -- did you reach the opinion

  13    that you can ascribe a measurable part of

  14    a firm's revenue to the activities of a

  15    particular worker or group of workers?

  16             A.      I'm not sure that I

  17    understand quite the distinction from the

  18    previous one.      Do you mind expressing

  19    that again -- asking that again?

  20             Q.      I'm focusing on, for

  21    example, ascribing a measurable part of a

  22    firm's revenue, and you told me that

  23    fighters play a role in generating a

  24    revenue for an event, and playing a role
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                                                                    Page 25
   1    doesn't tell me -- that may or may not be

   2    ascribing a measurable part of a firm's

   3    revenue to the event.

   4             A.      Well, it's not my -- in my

   5    opinion, I don't attempt to measure part

   6    of the revenue that will be due to the

   7    workers.

   8             Q.      All right.     And in reaching

   9    the opinion that fighters who are

  10    involved in a particular event play a

  11    role in generating the revenue for that

  12    event, I would like you to ask -- ask you

  13    to look at paragraph 24, where you say:

  14                     "The fighters are people

  15    with media articles written about them,

  16    and often Wikipedia pages.         It is

  17    reasonable to conclude that the fighters

  18    are the key workers in the event that the

  19    customers are paying to watch and so play

  20    an important role in generating revenue."

  21                     Is that the part of your

  22    report -- well, that part of your report,

  23    I think it's fair to say, says that the

  24    fighters play a role in generating
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                                                                    Page 26
   1    revenue for an event.        Is there any other

   2    part of your report that you would point

   3    to me that would support that conclusion?

   4                     MR. CRAMER:     Objection to

   5             form.    You're being unclear about

   6             "that part of your report."         You

   7             read a part of a sentence.

   8                     MR. ISAACSON:     The part I

   9             read.    The part I read.

  10                     MR. CRAMER:     And not the

  11             entire section that it's in?

  12                     MR. ISAACSON:     Yes.

  13                     MR. CRAMER:     Take your time

  14             if you need to go through --

  15                     THE WITNESS:     Okay.    Do you

  16             want me to go through every

  17             paragraph and say --

  18    BY MR. ISAACSON:

  19             Q.      Whatever you do.

  20             A.      Okay.   And could you just

  21    read back the question?

  22             Q.      Sure.   I'm focusing on --

  23    you said that fighters are people with

  24    media articles written about them and
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                                                                    Page 33
   1    circumstances for when labor economists

   2    use wage share in analyzing compensation.

   3                     What I'd like to know is,

   4    have you ever seen these three factors

   5    articulated before in anything in

   6    writing, a publication, an article, a

   7    textbook, et cetera?

   8                     MR. CRAMER:     Asked and

   9             answered.

  10                     THE WITNESS:     I mean, I feel

  11             I've answered that one.

  12    BY MR. ISAACSON:

  13             Q.      Well, you told me about how

  14    you've seen them individually, but have

  15    you ever -- can you point to me to any

  16    publication or other -- anything in

  17    writing where someone has said that it's

  18    appropriate -- labor economists use wage

  19    share in analyzing compensation when

  20    three appropriate circumstances are met,

  21    and then list these three circumstances?

  22             A.      I -- in expressing my

  23    opinion, I'm not simply copying out

  24    conclusions that are -- it is not a
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                                                                    Page 34
   1    cut-and-paste job from someone else's

   2    article.      It is using well-attested

   3    techniques and measures from the existing

   4    literature, but combining them in a way

   5    that I think is wholly appropriate to

   6    this particular case.        And that is what I

   7    think of actually as trying to express an

   8    expert opinion.

   9             Q.       All right.    And I understand

  10    you think that these are the appropriate

  11    circumstances and you stated your reasons

  12    for such, but I'd still like to know if

  13    anybody -- of you've seen anybody write

  14    out before that these are the three

  15    appropriate circumstances for labor

  16    economists to use wage share in analyzing

  17    compensation?

  18                     MR. CRAMER:     Asked and

  19             answered.

  20                     THE WITNESS:     I feel I've

  21             answered it.      These are my own

  22             words.    Did I cut and paste these

  23             from someone else?       No.

  24    BY MR. ISAACSON:
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                                                                    Page 35
   1             Q.      All right.     And when you

   2    say -- I know you didn't cut and paste

   3    them, but have you seen any -- have you

   4    seen anybody list these three criteria,

   5    you know, in substance as the appropriate

   6    circumstance for when you -- labor

   7    economists would use wage share in

   8    analyzing compensation?

   9             A.      I mean, I -- in my report

  10    here I'm trying to express an opinion on,

  11    you know, the particular questions I was

  12    asked to address, and obviously that

  13    is -- in some sense it is -- you know, it

  14    is a particular case.        So I am combining

  15    well-attested, well-established ideas in

  16    a way that is appropriate to that case,

  17    and I think that is appropriate to

  18    expressing an expert opinion.

  19             Q.      Right.    And you've said to

  20    me a couple times that you think these

  21    three things are appropriate and I

  22    understand that.       And you said to me

  23    they're not a cut and paste,

  24    word-for-word.
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                                                                    Page 36
    1                    My question is:      Even if

    2    they're not word-for-word, have you seen

    3    any publication that lists these three

    4    things, in sum and substance, as the

    5    appropriate circumstance for a labor

    6    economist to analyze wage -- to use wage

    7    share in analyzing compensation?

    8             A.     I mean, wage share is very,

    9    you know, commonly used in the sport

   10    economics literature, so I'm drawing --

   11    drawing from that.

   12                    I think the statement of the

   13    question, which is the first criterion is

   14    really just a statement of the question

   15    in this case as I understand it.          So I'm

   16    not quite sure how I would take the

   17    question in this case from some other

   18    pre-existing -- pre-existing.

   19                    I mean, I think in cases

   20    where one is trying to assess the impact

   21    of anticompetitive practices, one is

   22    trying to compare the actual compensation

   23    in this case with compensation in the

   24    but-for world.
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                                                                    Page 37
    1                    So I think that's completely

    2    standard.

    3             Q.     All right.     I still don't

    4    know whether you're telling me anybody

    5    has listed these three things before.

    6             A.     I mean, I haven't seen -- I

    7    mean, they're totally appropriate, and

    8    you know, I'm combining well-attested

    9    ideas, well-established ideas in a way

   10    that's appropriate to that case, for that

   11    combination -- because I'm not aware of

   12    somebody who has written about this

   13    particular case, that particular

   14    combination which I chose to be

   15    appropriate to this case and what I

   16    think -- that is what I think I should be

   17    doing when expressing an expert opinion,

   18    I haven't got that.

   19             Q.     All right.     So you've

   20    reached the opinion that these three

   21    factors are the appropriate circumstances

   22    to consider in this particular case.

   23                    Can you point me to

   24    anything -- any literature where these
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                                                                    Page 38
    1    three factors were considered appropriate

    2    for some other -- for some other type of

    3    facts or some other case?

    4             A.     Well, I think that -- I

    5    mean, let me take them in order.

    6             Q.     I would like them in

    7    combination.     Not individually, in

    8    combination, all three?

    9             A.     I think --

   10                    MR. CRAMER:     Form.

   11                    You may answer.

   12                    THE WITNESS:     I mean, what

   13             I'm doing here is taking well-

   14             established ideas individually and

   15             drawing on ideas from established

   16             work, well-established, and

   17             combining them in a way that is

   18             appropriate for this case.        I

   19             think that is appropriate to what

   20             one is asked to do as an expert.

   21    BY MR. ISAACSON:

   22             Q.     You've told me that several

   23    times.

   24             A.     Yeah.
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                                                                    Page 39
    1             Q.     You've got it on the

    2    record --

    3             A.     Yes.

    4             Q.     -- that you feel it is

    5    appropriate to combine these three

    6    circumstances in this -- for the facts of

    7    this case.

    8                    And what I'm asking you now,

    9    have you run across, in any of your

   10    research or writing or teaching, any

   11    other specific facts or cases where

   12    someone said the three circumstances that

   13    you've identified are the appropriate way

   14    to determine that wage share should be

   15    used in analyzing compensation, all three

   16    in combination?

   17             A.     But there is no equivalent

   18    to this case in -- you know, it's about

   19    the particular case.

   20             Q.     So looking at paragraph 10,

   21    you discussed the question in this

   22    litigation.

   23                    "In this litigation, the

   24    question to be considered is different.
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                                                                    Page 59
    1    wage share is appropriate in analyzing

    2    compensation?      You make the proviso that

    3    you might be able to go look, do an

    4    analysis and find other factors, but as

    5    of today, you would not have an opinion?

    6             A.     I would have to think about

    7    how one might seek to, you know, analyze

    8    what data was available.        I have not, you

    9    know, thought about that hypothetical

   10    situation and so I don't have an opinion

   11    on it.

   12             Q.     All right.     And you

   13    mentioned Dr. Zimbalist's comparison to

   14    others -- between Zuffa and other sports.

   15    Do you reach any opinions in your report

   16    as to whether it was appropriate to

   17    compare revenue -- labor share in one

   18    sport to another sport?

   19             A.     No, I was not asked for --

   20    to express an opinion on that.          I have

   21    not thought about that.

   22             Q.     All right.     Now, in Item 3,

   23    there's an or at the end.        It is possible

   24    to ascribe a measurable part of a firm's
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                                                                    Page 60
    1    revenue to the activities of a particular

    2    worker or group of workers.         Does that

    3    mean it's sufficient to meet either one,

    4    do you need both?       I'm trying to

    5    understand your -- because you mentioned

    6    both, of a particular worker or group of

    7    workers?

    8             A.     Well, I think of it as an

    9    or, so it's one of the two.

   10             Q.     Right.    And is it your

   11    opinion that the record in this case

   12    makes it possible to ascribe a measurable

   13    part of a firm's revenue to the

   14    activities of a particular worker?

   15             A.     I have -- I mean, I have not

   16    been asked to express an opinion about

   17    that.    I have not given thought to that,

   18    so I don't have an opinion on that.

   19             Q.     Okay.    Is it your opinion in

   20    this case that it's possible to ascribe a

   21    measurable part of a firm's revenue to

   22    the activities of a particular group of

   23    workers?

   24             A.     I think that the event
Case 2:15-cv-01045-RFB-BNW Document 743-10 Filed 09/12/19 Page 16 of 31


                                                                    Page 61
    1    revenue is -- you know, the fighters in

    2    that event are -- the revenue from that

    3    event is connected to the activities of

    4    the workers in that fight, yes.

    5             Q.      And you reach that opinion

    6    based on what you said in paragraph 24;

    7    is that correct?

    8             A.      I mean, not only that.

    9    That's what I expressed, that's how I

   10    summarized that view, but I would go back

   11    to just simply saying that I think the

   12    fighters are the key people here, that

   13    that is who all eyes are on when there is

   14    a fight going on.

   15             Q.      But in terms of what you

   16    have actually said in your report, your

   17    reasons for concluding that it's possible

   18    to ascribe a measurable part of a firm's

   19    revenue to the activities of a particular

   20    group of workers, what you've said in

   21    your report about that can be found in

   22    paragraph 24?

   23                     MR. CRAMER:    Objection to

   24             form.
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                                                                    Page 62
    1                    THE WITNESS:     I mean, I

    2             think that that is -- no, I don't

    3             really accept that.       I think it is

    4             more generally just saying that

    5             the workers are the key people.

    6    BY MR. ISAACSON:

    7             Q.     All right.     Now, why does

    8    what you say in paragraph 24 together

    9    with workers being key people mean that a

   10    measurable part of a firm's revenue is --

   11    can be ascribed to a group -- to a group

   12    of fighters in this case?        Where do you

   13    get the measurable part?

   14             A.     I mean, I think the -- I

   15    mean, what I meant by measurable part

   16    here is really that there are techniques

   17    available in order to control for this.

   18                    So if one takes Dr. Singer's

   19    approach, he's seeing how variation in

   20    the foreclosure effect affects the worker

   21    share.    All things being equal.

   22             Q.     All right.     So as part of

   23    your report, you did not do any work as

   24    to whether -- do any work that would
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                                                                    Page 63
    1    allow you to conclude that a measurable

    2    part of a firm's revenue can be

    3    attributed to any group of UFC fighters;

    4    is that correct?

    5                    MR. CRAMER:     Asked and

    6             answered, form.

    7                    THE WITNESS:     I mean, I

    8             would simply, you know, repeat

    9             what I said earlier that here is

   10             some revenue coming from this

   11             particular event, the fighters are

   12             in that event, and so there is a

   13             connection between the fighters in

   14             that event and the revenue that

   15             flows through that event.

   16    BY MR. ISAACSON:

   17             Q.     But you did not try to

   18    measure the amount of that connection; is

   19    that correct?

   20             A.     I have not worked with the

   21    data in this case.

   22             Q.     All right.     And is all of

   23    the event revenue for the Zuffa event

   24    attributable to the fighters?
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                                                                    Page 64
    1                      MR. CRAMER:    Objection to

    2             form.

    3                      THE WITNESS:    No.   I mean,

    4             the claim is not the workers

    5             should have 100 percent of the

    6             event revenue, that they would

    7             have that in the but-for world.

    8             The claim is that they would have

    9             a higher share than they actually

   10             had.

   11    BY MR. ISAACSON:

   12             Q.      All right.     And based on

   13    your -- the work you've done in this

   14    case, what is your understanding of what

   15    factors contribute to event revenues?

   16    You've named the role of athletes.           What

   17    else would contribute?

   18             A.      I mean, I haven't studied

   19    that so I don't have an opinion on that.

   20                     MR. CRAMER:     We've been

   21             going for almost an hour.         If this

   22             is a good time to break, we can

   23             break.

   24                     MR. ISAACSON:     Sure.
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                                                                    Page 83
    1    product.

    2             A.     Yeah.

    3             Q.     Why is that?

    4             A.     I mean, I think it's

    5    important to see that one -- that

    6    statement in the context of that

    7    paragraph of what that is about, and I've

    8    given the reason why I think that this

    9    is, because event revenue is partly just

   10    determined on the night by how many

   11    people, for example, sign up for

   12    pay-per-view, whereas things like

   13    compensation would be set in large part

   14    before that.     That means that Dr. Topel's

   15    regression is flawed.

   16             Q.     The -- all right.       Now,

   17    it -- when you say, "While event revenue

   18    is plausibly proportional to marginal

   19    revenue product for the reasons given

   20    earlier," are the reasons given earlier

   21    once more the statements in paragraph 24

   22    about fighters are people with media

   23    articles and often Wikipedia pages and --

   24    as well as your statement that people
Case 2:15-cv-01045-RFB-BNW Document 743-10 Filed 09/12/19 Page 21 of 31


                                                                    Page 84
    1    come to watch fighters?

    2             A.     No, not just that.       I mean,

    3    after paragraph 24, one goes to paragraph

    4    25 that starts, "The reasoning that

    5    supports this conclusion is the

    6    following," and then I go through the

    7    reasons for why that -- I mean, they're

    8    also, you know, other pieces of evidence.

    9    I mean, Dr. Topel's regression, flawed

   10    though it is, does show that event

   11    revenue -- that compensation is

   12    significantly related to event revenue,

   13    and I think that that is an indication of

   14    really what I think is -- I think most

   15    people would understand to be fairly

   16    obvious, that the fighters are really

   17    important people in these events.

   18             Q.     All right.     So I want to

   19    remove one word here just so I understand

   20    it.   Is there anything in your report

   21    that shows that event revenue is

   22    proportional to marginal revenue product?

   23             A.     I mean, I haven't worked

   24    with the data so, I mean, that would
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                                                                    Page 85
    1    require working with the data.

    2             Q.     All right.     And what is it

    3    in paragraphs 25 and 26 that relates to

    4    the issue of proportionality?         I

    5    understand how you're explaining why

    6    marginal revenue product will change with

    7    the number of people watching and the

    8    amount that they pay, but why would that

    9    be proportional?

   10             A.     Well, that I think is

   11    explained in paragraph 27.         So if the

   12    revenue for the fight is twice as large,

   13    then the marginal revenue product is

   14    twice as high, and that is a definition

   15    of proportionality.

   16             Q.     So what is it that allows

   17    you to conclude that in paragraph 27,

   18    that if a revenue for the fight is twice

   19    as large then the marginal revenue

   20    product -- actually, I have to breakdown

   21    this sentence because I don't understand

   22    this sentence.

   23                    So let's just break down

   24    just the words and then we'll get into
Case 2:15-cv-01045-RFB-BNW Document 743-10 Filed 09/12/19 Page 23 of 31


                                                                    Page 86
    1    the basis for the opinion.

    2             A.     Yup.

    3             Q.     If revenue for the fight is

    4    twice as large, then the MR -- marginal

    5    revenue product is twice as high.

    6             A.     Yup.

    7             Q.     I'm not getting the double

    8    twice there.

    9             A.     Well, I'm imagining if we

   10    can talk about a hypothetical --

   11             Q.     Right.

   12             A.     -- situation, that, you

   13    know, there's a certain amount of people

   14    watching money -- watching this and

   15    paying money to watch, whether it's in

   16    person or the event, and then we double

   17    the amount of the people who are paying,

   18    then that would imply that the marginal

   19    revenue product of the labor of the

   20    fighters has -- has doubled.

   21             Q.     All right.     So I'm -- maybe

   22    I'm understanding this now.         So when you

   23    say if revenue for the fight is twice as

   24    large, then the marginal revenue product
Case 2:15-cv-01045-RFB-BNW Document 743-10 Filed 09/12/19 Page 24 of 31


                                                                    Page 89
    1                    THE WITNESS:     I feel I've

    2             answered that.      I do feel I've

    3             answered that.

    4    BY MR. ISAACSON:

    5             Q.     Well, what -- I'm going to

    6    go over it.     I'm not even saying you

    7    haven't answered it.

    8             A.     Okay.    No, that's all right.

    9             Q.     I swear to you I haven't

   10    understood your answer, so I'm going to

   11    over it until I understand it.

   12                    The -- are you saying that

   13    if event revenues double, it is

   14    necessarily true that the marginal

   15    revenue product of the athletes had to

   16    have doubled?

   17             A.     Yes, I think that is what

   18    it's saying.     I mean, it's saying it is

   19    plausibly proportional -- sorry,

   20    proportional means that a doubling leads

   21    to a doubling.

   22             Q.     Okay.    So am I correct that

   23    what you're saying is if the revenues are

   24    proportional to the marginal revenue
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                                                                    Page 90
    1    product of labor, then you can conclude

    2    that if event revenues double, then

    3    marginal revenue product of labor has

    4    doubled?

    5             A.      I'm sorry, could you just

    6    read that back?

    7             Q.      Sure.

    8             A.      I'm a bit confused.

    9             Q.      So is what you're saying is

   10    that if revenues are proportional to the

   11    marginal revenue product of labor, then

   12    you can conclude that if event revenues

   13    double, then the marginal revenue product

   14    of labor has doubled?

   15                     MR. CRAMER:    Objection to

   16             form.

   17                     You may answer if you

   18             understand.

   19                     THE WITNESS:    I think the if

   20             at the start I didn't really

   21             agree, and I think I prefer my

   22             previous answers to --

   23    BY MR. ISAACSON:

   24             Q.      Have you done any work in
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                                                                    Page 91
    1    this case -- have you done any work

    2    reflected in your report that shows

    3    that -- that in order for event revenue

    4    to double, the marginal revenue product

    5    of athletes at the event has to double?

    6                     MR. CRAMER:    Objection to

    7             form.

    8                     You may answer.

    9                     THE WITNESS:    I mean, I

   10             haven't studied, you know, the

   11             data, the particular situations,

   12             so I haven't got an opinion on

   13             that.

   14    BY MR. ISAACSON:

   15             Q.      All right.    Is -- the first

   16    sentence in paragraph 27 is followed by

   17    the sentence, "So the marginal revenue

   18    product will be proportional to the event

   19    revenue," are you -- is the first

   20    sentence in paragraph 27 an example of

   21    what happens when event revenue and

   22    marginal revenue product are proportional

   23    to one another?

   24                     MR. CRAMER:    Is that all it
Case 2:15-cv-01045-RFB-BNW Document 743-10 Filed 09/12/19 Page 27 of 31


                                                                    Page 92
    1             is or -- form.

    2                    You may answer if you

    3             understand.

    4                    THE WITNESS:     Yeah, I'm

    5             sorry, I'm not quite sure I'm

    6             understanding.      Can you either

    7             read it back or re-express it.

    8    BY MR. ISAACSON:

    9             Q.     All right.     So paragraph 27

   10    concludes -- again this is my effort to

   11    understand what you have written.

   12             A.     Okay.

   13             Q.     Paragraph 27 concludes:

   14                    "The marginal revenue" --

   15    "So the marginal revenue product will be

   16    proportional to the event revenue."

   17                    Is the first sentence in

   18    that paragraph an example -- are you

   19    presenting an example of what happens

   20    when marginal revenue product is

   21    proportional to event revenue?

   22                    MR. CRAMER:     Form.

   23                    You may answer.

   24                    THE WITNESS:     The first
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                                                                    Page 93
    1             sentence in paragraph 27 is, you

    2             know, inviting them to think about

    3             a hypothetical situation in which

    4             event revenue doubles, and to say

    5             that, yes, then the marginal

    6             revenue product of labor will

    7             double as well.       So they're not --

    8             they can vary independently in

    9             that example.     So it's simply a

   10             way of expressing proportionality,

   11             although perhaps it seems not a

   12             very clear way.

   13    BY MR. ISAACSON:

   14             Q.      And maybe it's helpful just

   15    to state that the first sentence in

   16    paragraph 27 is a hypothetical that

   17    you're discussing; is that correct?

   18                     MR. CRAMER:    Objection to

   19             form.

   20                     You may answer.

   21                     THE WITNESS:    I mean, I

   22             haven't worked with the data in

   23             this case.     I mean, so it's

   24             hypothetical, but I think it's --
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                                                                    Page 94
    1             you know, it's a very plausible,

    2             reasonable hypothetical.

    3    BY MR. ISAACSON:

    4             Q.     And do you have an opinion

    5    as to whether the marginal revenue

    6    product of inputs to events other than

    7    the athlete is proportional to event

    8    revenue?

    9             A.     I mean, I haven't worked

   10    with the data in this case, so I haven't

   11    got an opinion on that in this case.

   12             Q.     And for your opinion in this

   13    case in paragraph 5, that wage share is

   14    an appropriate way to analyze the

   15    compensation of MMA fighters in this

   16    case, is one premise for that conclusion

   17    that event revenue is plausibly

   18    proportional to marginal revenue product?

   19             A.     I mean, this is holding, you

   20    know, other things equal, yes.

   21             Q.     And if marginal revenue

   22    product is not shown to be proportional

   23    to event revenue in this case, am I

   24    correct you would not be able to reach an
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                                                                    Page 95
    1    opinion, without at least further

    2    analysis, of whether wage share is an

    3    appropriate way to analyze the

    4    compensation of MMA fighters in this

    5    case?

    6                     MR. CRAMER:    Objection to

    7             form.

    8                     You may answer.

    9                     THE WITNESS:    I mean, I

   10             haven't considered the other case,

   11             so that, I mean, I haven't got an

   12             opinion.    I would have to -- have

   13             to think about that.       But that

   14             isn't the same as saying it would

   15             not be possible.

   16    BY MR. ISAACSON:

   17             Q.      All right.    Would you agree

   18    that if the marginal revenue product of

   19    the inputs other than the athletes was

   20    not proportional, then the -- to event

   21    revenue, then the marginal revenue

   22    product of the fighters would also not be

   23    proportional?

   24                     MR. CRAMER:    Objection to
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                                                                   Page 166
    1
    2                       CERTIFICATE
    3
    4
    5                 I HEREBY CERTIFY that the
         witness was duly sworn by me and that the
    6    deposition is a true record of the
         testimony given by the witness.
    7
                      It was requested before
    8    completion of the deposition that the
         witness, ALAN MANNING, have the
    9    opportunity to read and sign the
         deposition transcript.
   10
   11
   12             __________________________________
                  Constance S. Kent, CCR, RPR, CLR
   13             Certified Court Reporter
                  Registered Professional Reporter
   14             Certified LiveNote Reporter
                  and Notary Public in and for the
   15             Commonwealth of Pennsylvania
                  Dated: February 9, 2018
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   20                 (The foregoing certification
   21    of this transcript does not apply to any
   22    reproduction of the same by any means,
   23    unless under the direct control and/or
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